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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

LESTER LEE,
       Plaintiff,
                                                              Civil Action No.
       v.
                                                              8:24-cv-01205-ABA
BROOKSIDE PARK CONDOMINIUMS, et al.,
       Defendants



                                              ORDER

       This case has been reassigned from Judge Griggsby to me for all proceedings. It is hereby

ORDERED as follows:

       1.       The Case Management Order previously entered in this case, ECF No. 37, is

superseded and will no longer apply. The standard Federal Rules of Civil Procedure, and Local

Rules, apply.

       2.       With the exception of ECF No. 37, all orders previously entered in this case

remain in effect.

       3.       Pursuant to Federal Rules of Civil Procedure 8(c) and 12(f), Plaintiff has filed a

motion to strike two of the affirmative defenses asserted by Defendants Brookside Park

Condominium, Inc., Metropolis (aka MCM, Inc.), and Rammy Azoulay (collectively,

“Brookside”): Affirmative Defense 2 (“Plaintiff’s claim is barred by illegality because Prince

George’s County ordinances prohibit the ownership of pit bulls.”), and Affirmative Defense 4

(“Plaintiff’s claim is barred by failure to meet a condition precedent.”). A party against whom

claims are asserted, in addition to “admit[ting] or deny[ing] the allegations asserted against it,”

Fed. R. Civ. P. 8(b)(1)(B), and “stat[ing] in short and plain terms its defenses to each claim

asserted against it,” Fed. R. Civ. P. 8(b)(1)(A), shall “affirmatively state any avoidance or
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affirmative defense,” Fed. R. Civ. P. 8(c)(1). As to Affirmative Defense 2, Defendants have

satisfied their notice obligations, particularly given that Exhibit A to Plaintiff’s complaint itself

referred to Prince George’s County Code, § 3-185.01. As to Affirmative Defense 4, Defendants

have identified the condition precedent they had in mind, see, e.g., ECF No. 38-1 at 1

(“Brookside is entitled to medical information prior to granting an accommodation”), and in any

event with both parties seeking additional information about the others’ claims and defenses, the

proper means at this point is through discovery. Accordingly, Plaintiff’s Motion to Strike, ECF

No. 36, is DENIED.

       4.      A proposed Scheduling Order is attached to this order. Please review it, confer,

and file a joint status report by Friday, October 18, 2024, stating whether you: 1) request any

changes to the dates in the proposed Scheduling Order; 2) would like to participate in a

settlement conference and, if so, the phase of the case in which you propose that a conference be

scheduled (e.g., promptly, or after the conclusion of discovery, etc.); 3) unanimously consent to

proceed before a United States Magistrate Judge; 4) anticipate exchanging discovery of

electronically stored information (ESI), and, if so, whether you presently anticipate any disputes

regarding ESI-related discovery; and 5) propose to defer any of the expert discovery until after

summary judgment motions are resolved.

       In addition, by separate letter order, dated today, I am providing you with my informal

discovery dispute procedure, which will govern all future discovery in this case.



Date: October 4, 2024                                         /s/
                                                       Adam B. Abelson
                                                       United States District Judge
